Case 3:06-cr-30138-DRH       Document 211 Filed 04/11/07 Page 1 of 1        Page ID
                                       #403
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


  UNITED STATES OF AMERICA,                    )
                                               )
                               Plaintiff,      )
                                               )
                vs.                            )     CRIMINAL NO. 06-30138-DRH
                                               )
  THOMAS E. BEVINEAU,                          )
                                               )
                               Defendant.      )

                                            ORDER

         Defendant’s Motion to Continue Sentencing coming on to be heard;

         IT IS HEREBY ORDERED that the defendant’s sentencing is continued from

  April 20, 2007 and reset on June 15, 2007 at 11:00 a.m.

         Dated this 11th day of April, 2007.

                                                     Enter:

                                                     /s/ David RHerndon
                                                     Judge
